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                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      Acting United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                    June 11, 2021

Ubong Akpan, Esquire
Federal Public Defender
625 Indiana Ave. #550 NW
Washington, D.C. 20004

                                     Re:    United States v. Samuel Camargo
                                            Case No. 21-cr-70 (ABJ)

Dear Counsel:

     This letter is to notify you regarding the discovery that has been produced to you via the
USAFx folder labeled “DISCOVERY.SAMUEL CAMARGO” in subfolder labeled
“CAMARGO.Fast Track Discovery.”

        Summary of Materials Provided. The discovery is Bates stamped CAP01_000015186
to CAP01_000017097, and contains materials as described in the attached index. Certain
materials are designated Sensitive or Highly Sensitive and these designations are clearly noted
on the provided index. This material is subject to the terms of the Protective Order issued in
this case.

        Manner of Production. If this production is being transmitted via USAfx, please be
sure to download the entire folder, including all subfolders and files contained within the
subfolders exactly as it was provided immediately upon receipt to your own storage media.

       This production contains the following:

       • A “PDF” folder containing the discovery in searchable PDF format.

       • A “NATIVE” folder of documents that cannot be converted to PDFs such as
       audio/video recordings. Files that could not be converted to PDF will have a
       “placeholder” in the “PDF” folder that references the native file. You will find the
       referenced file by navigating to the corresponding Bates number in the NATIVE folder.
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       • An index of the production, provided in both Excel and Adobe PDF formats.

        If you would like this production in load files for creating a document review database
(e.g., Relativity), please let me know and we will provide load files.

        Because the discovery is provided to you via USAFx, and access is limited, the discovery
is unencrypted. Please contact me if you have any issues accessing the information, and to
confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

        Technical Assistance. CJA panel counsel and Assistant Federal Public Defenders with
technical discovery questions or those who need of assistance managing the discovery in this
case can contact Kelly Scribner (kelly_scribner@fd.org) with the Defender Services Office -
National Litigation Support Team. While Ms. Scribner is not specifically tasked with assisting
retained counsel, she is willing to talk with you about your discovery issues on a limited basis.
However, the National Litigation Support Team typically cannot support retained defense
counsel as the National Litigation Support Team is funded to assist CJA panel counsel and
Federal Public Defender offices appointed through the CJA Act.

        Voluminous Materials. Due to the extraordinary nature of the January 6, 2021 Capitol
Attack, the government anticipates that a large volume of materials may contain information
relevant to this prosecution. These materials may include, but are not limited to, surveillance
video, body worn camera footage, statements of similarly situated defendants, forensic searches
of electronic devices and social media accounts of similarly situated defendants, and citizen tips.
The government is working to develop a system that will facilitate access to these materials. In
the meantime, please let me know of any specific information that you believe is particularly
relevant to your client.

        Timing of Disclosures. I recognize the government’s discovery obligations under Brady
v. Maryland, 373 U.S. 83 (1963), its progeny, and Rule 16. I will provide timely disclosure if
any such material comes to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will
provide information about government witnesses prior to trial and in compliance with the court’s
trial management order.

         Reciprocal Discovery. I request reciprocal discovery to the fullest extent provided by
Rule 16 of the Federal Rules of Criminal Procedure, including results or reports of any physical
or mental examinations, or scientific tests or experiments, and any expert witness summaries. I
also request that defendant(s) disclose prior statements of any witnesses defendant(s) intends to
call to testify at any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S.
255 (1975). I request that such material be provided on the same basis upon which the
government will provide defendant(s) with materials relating to government witnesses.

        Notice of Defenses. Additionally, pursuant to Federal Rules of Criminal Procedure 12.1,
12.2, and 12.3, I request that defendant(s) provide the government with the appropriate written
notice if defendant(s) plans to use one of the defenses referenced in those rules. Please provide

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any notice within the time period required by the Rules or allowed by the Court for the filing of
any pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                     Sincerely,

                                                                     /s/ Vivien Cockburn
                                                     Vivien Cockburn
                                                     Assistant United States Attorney
                                                     555 4th Street, N.W.
                                                     Washington, D.C. 20530
                                                     (202) 252-7245
                                                     Vivien.Cockburn@usdoj.gov




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